                    Case 18-20126-rlj11 Doc 32 Filed 04/27/18                                   Entered 04/27/18 12:05:14                            Page 1 of 1


 Fill in this information to identify the case:
 Debtor name Waggoner Cattle, LLC
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS                                                                                   Check if this is an

 Case number (if known):                18-20126                                                                                                      amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Coba/Select Sires,              Duane Logan                     Breeding Fees                                                                                            $27,717.30
 Inc
 1224 Alton Darby                duane@cobaselect
 Crk. Rd.                        .com
 Columbus, OH                    614-878-5333
 43228
 Dean Cluck-Dimmitt              Monte Cluck                     Cattle Inventory                                                                                         $32,375.00
 Feedyard
 PO Box 638                      montecluck@gmail
 Dimmitt, TX 79027               .com
                                 830-446-2418
 Lone Star State                 Steven Hoard     Livestock that the                                           $12,832,596.31              $2,300,000.00            $10,532,596.31
 Bank                                             Lone Star State
 6220 Milwaukee                  shoard@mhba.com Bank and Rabo
 Ave.                            806-372-5050     Bank has a lien
 Lubbock, TX 79424                                on.
 Lone Star State                 Stenven Hoard    Charged Off Note                                                                                                    $5,300,000.00
 Bank
 6220 Milwaukee                  shoard@mhba.com
 Ave.                            806-372-5050
 Lubbock, TX 79424
 Rabo Bank                       Kurt Leistikow                  Livestock that the                            $10,264,493.41              $2,300,000.00            $10,264,493.41
 PO Box 411995                                                   Lone Star State
 Saint Louis, MO                 kurt.leistikow@rab              Bank and Rabo
 63141                           oag.com                         Bank has a lien
                                 319-575-5447                    on.
 Texas Beef Council              Richard Worthan                 BIC Report                                                                                               $34,623.91
 PO Box 822
 San Antonio, TX                 rw@txbeef.org
 78293                           512-335-2333 Ext.
                                 100
 Western Cattle                                                  Feed                                                                                                   $195,214.86
 Feeders, LLC
 671 CR 120                      806-652-3307
 Lockney, TX 79241




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
